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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA                        *

               v.                               *            Criminal No.: AW-12-0587

AMECHI ONYEACHOLEM                              *

                                        *   *   *    *   *

                                             ORDER


       Upon consideration of the Defendant’s unopposed motion for medical care and treatment,

this ____ day of ______, 2013, IT IS HEREBY ORDERED that the United States Marshal Service

is directed to provide a medical examination and evaluation for replacement of Ms. Onyeacholem’s

prosthetic within 10 days from the date of this Order.



                                      ____________________________________________
                                      THE HONORABLE ALEXANDER WILLIAMS, JR.
                                      United States District Judge
